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 7                             UNITED STATES DISTRICT COURT
 8
                              CENTRAL DISTRICT OF CALIFORNIA
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10   PERFECT 10, INC., a California           CASE NO. 2:13-cv-07279-SVW-E
11   corporation,
                                              Before Hon. Stephen V. Wilson
12                    Plaintiff,
13           vs.
                                              ORDER OF DISMISSAL OF
14   LEO RADVINSKY, an individual;            ACTION WITH PREJUDICE
     CYBERTANIA, INC., an Illinois
15
     corporation; DATA CONVERSIONS,
16   INC. (FORMERLY KNOWN AS                           JS-6
     AEBN, INC.), a North Carolina
17
     corporation; and DOES 1 through 100,
18   inclusive,
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                      Defendants.
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     Order of Dismissal                 1              Case No. 2:13-cv-07279-SVW-E
     Case 2:13-cv-07279-SVW-E Document 34 Filed 03/14/14 Page 2 of 2 Page ID #:375



 1           Upon reviewing the stipulation by and between Plaintiff Perfect 10, Inc. and
 2   Defendants Leo Radvinsky and Cybertania, Inc. requesting dismissal of the above-
 3   referenced action pursuant to Fed. R. Civ. P. 41(a), this action is dismissed with
 4   prejudice with each side to bear his or its own costs and attorney’s fees.
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 6   IT IS SO ORDERED.

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 8   DATED: March 14, 2014                         ____________________________
                                                   Hon. Stephen V. Wilson
 9                                                 United States District Court Judge
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     Order of Dismissal                  2                   Case No. 2:13-cv-07279-SVW-E
